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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

    JANE DOE 11,                                      §
                                                      §
          Plaintiff,                                  §
                                                                     Civil Action No. 6:17-CV-228-RP
                                                      §
    v.                                                §
                                                                                   Consolidated with
                                                      §
                                                                           6:16-CV-173-RP (lead case)
    BAYLOR UNIVERSITY,                                §
                                                                                      6:17-CV-236-RP
                                                      §
          Defendant.                                  §


                       DEFENDANT BAYLOR UNIVERSITY’S ADVISORY
                        IN ADVANCE OF ANY STATUS CONFERENCE


TO THE HONORABLE JUDGE PITMAN:

         Defendant Baylor University (“Baylor”) previously filed a Request for Status Conference

(“Request”), Dkt. 1003, to address two outstanding issues related to this Court’s prior order regarding

production of Pepper Hamilton’s work product (the “Waiver Order”). Dkt. 988. 1 Baylor files this

Advisory to update the Court on the status of that production in advance of any status conference

and in light of this Court’s recent FERPA orders.

         The first issue addressed by Baylor in its Request related to Pepper Hamilton (“PH”)

documents that were subject to the Waiver Order but were being withheld by Baylor pending this

Court’s ruling on objections filed by 19 non-party students who had received FERPA notices and

objected to the release of their records. The Court subsequently denied those objections and ordered

Baylor to produce the student records by certain deadlines, the last one being February 9, 2022. Dkts.

1004-1022. As a result of the Court’s FERPA orders, the first issue raised in Baylor’s Request is now

moot. As of yesterday, Baylor completed its production of PH work product documents it previously


1 The Waiver Order waived the work product protection of certain Pepper Hamilton documents and communications
that were part of Pepper’s investigative and implementation work for Baylor in the Jane Doe 11 case only.


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withheld due to FERPA objections. In the process of reviewing the remaining PH work product

documents withheld for FERPA, Baylor identified additional PH work product documents to be

released and those were also produced yesterday. Baylor therefore has completed its PH work product

production pursuant to the terms of this Court’s Waiver Order. Baylor is in the process of reviewing

and updating its privilege log to reflect the documents that have been released, both FERPA and non-

FERPA, pursuant to the Waiver Order. Baylor anticipates the updated log will be completed within

14 days.

       Additionally, Magistrate Judge Andrew Austin previously issued a sanctions order, Dkt. 941,

ordering Baylor to produce a large number of privileged documents. Baylor filed objections to that

Order, which are pending with the Court. Dkt. 947. However, to the extent that some of the

documents encompassed by Judge Austin’s Order also fall within this Court’s Waiver Order, those

documents have now been produced, and the only documents Baylor continues to withhold are those

documents that fall within this Court’s exceptions to the waiver ruling (page 11 of Dkt. 988) or that

are not subject to the ruling because they were not part of PH’s investigation or implementation work

for Baylor.




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                                          Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing advisory was served upon

Plaintiff’s counsel of record on February 4, 2022, via the Court’s ECF/CMF electronic service system

as follows:

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                                              /s/ Julie A. Springer
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